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 2   Folsom, CA 95630
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 3
     Attorneys for Defendant
 4
     Jeremy Gachago
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                               ) Case No.: 2:10 CR 347 MCE
     UNITED STATES OF AMERICA,                   )
10                                               ) STIPULATION AND ORDER
                    Plaintiff,                   ) CONTINUING STATUS CONFERNCE
11                                               )
            v.                                   )
12                                               )
     DISHAN PERERA, et al,                       )
13                                               )
                    Defendant.                   )
14
            It is hereby stipulated between the parties, Todd Leras, Assistant United States
15
     Attorney, Alan Baum, attorney for defendant Dishan Perera, Michael Chastaine, attorney
16
     for Jeremy Gachago, Mark Waecker, attorney for defendant Imesh Perera, Shari Rusk,
17
     attorney for defendant Torey Moore and Michael Long, attorney for Michael Tran, Olaf
18
     Hedberg, attorney for defendant Leonard Woodfork, John Manning, attorney for Navpret
19
     Singh, Christopher Hayden-Myer, attorney for Love Sidhu, Mark Rechel, attorney for
20
     Navjot Singh, Chris Cosca, attorney for Ramiro Garcia and Dan Koukol attorney for
21
     Jason Caviler that the status conference date of Tuesday, September 6, 2011 should be
22
     continued until Tuesday November 3 , 2011. The continuance is necessary as all counsel
23
     are continuing to engage in negotiations with the government. Further, the government
24
     has indicated that it will be providing additional discovery that must be reviewed by the
25
     defense.
26
     ///
27
     ///
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 1         IT IS STIPULATED that the period of time from the September 6, 2011 up to and
 2   including November 3, 2011 be excluded in computing the time within which the trial
 3   must commence under the Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(7) and
 4   Local Code T4, for ongoing preparation of counsel.
 5
 6   .
 7   Dated: September 2, 2011                       By: ____/s/ Michael Chastaine
                                                    MICHAEL CHASTAINE
 8
                                                    Attorney for Jeremy Gachago
 9
10   Dated: September 2, 2011                       By: ____/s/ Michael D. Long
                                                    MICHAEL D. LONG
11
                                                    Attorney for Michael Tran
12
13
     Dated: September 2, 2011                       By: ____/s/ Alan Baum
14                                                  ALAN BAUM
15                                                  Attorney for Dishan Perera
16
     Dated: September 2, 2011                       By: ____/s/ Mark Waecker
17                                                  MARK WAECKER
18                                                  Attorney for Imesh Perera
19
     Dated: September 2, 2011                       By: ____/s/ Shari Rusk
20                                                  SHARI RUSK
21                                                  Attorney for Torey Moore

22
     Dated: September 2, 2011                       By: ____/s/ Olaf Hedberg
23                                                  OLAF HEDBERG
24                                                  Attorney for Leonard Woodfork

25
     Dated: September 2, 2011                       By: ____/s/ John Manning
26                                                  JOHN MANNING
27                                                  Attorney for Navpret Singh.

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                       Case 2:10-cr-00347-DAD Document 134 Filed 09/12/11 Page 3 of 3



 1   Dated: September 2, 2011                                By: ____/s/ Christopher Hayden-Myer
                                                             CHRISTOPER HAYDEN-MYER
 2
                                                             Attorney for Love Sidhu
 3   Dated: September 2, 2011                                By: ____/s/ Mark Rechel
 4                                                           MARK RECHEL
                                                             Attorney for Navjot Singh
 5
 6   Dated: September 2, 2011                                By: ____/s/ Dan Koukol
 7                                                           DAN KOUKOL
                                                             Attorney for Jason Caviler
 8
 9   Dated: September 2, 2011                                By: ____/s/ Chris Cosca
10                                                           CHRIS COSCA
                                                             Attorney for Ramiro Garcia
11
12   Dated: September 2, 2011                                BENJAMIN B. WAGNER
                                                             United States Attorney
13
14                                                    By: /s/ Michael Chastaine for Todd Leras___
                                                                    Todd Leras
15                                                           Assistant U.S. Attorney
16
     ORDER
17
                      GOOD CAUSE APPEARING, in that it is the stipulation of the parties:
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                      IT IS HEREBY ORDERED that the status conference scheduled for Tuesday,
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     September 6, 2011 at 10:30 a.m. be continued to Tuesday, November 3, 2011 at 9:00 a.m.
20
     and that the period from September 6, 2011 to November 3, 2011 is excludable from
21
     calculation under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(7) and local rule
22
     T4. The Court specifically finds that interests of justice served by granting this
23
     continuance outweigh the best interests of the public and the defendants in a speedy trial.
24   September 9, 2011
25
                                                   __________________________________
26                                                 MORRISON C. ENGLAND, JR
                                                   UNITED STATES DISTRICT JUDGE
27
     ignature- END:




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